Case 11-35737-RA|\/| Doc 15 Filed 09/21/11 Page 1 of 2

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MlAN|| DfVlSiON
CASE NO. 11-35737-RA|VE
CHAPTER 13
lN RE:
Heidy Kenia Reyes,
Debtor.
f
CERT!F|CATE OF SERV!CE

l hereby certify ith on September 21, 2011, a copy of the |V!OT]ON TO \/ALUE AND DETERIVEINE
SECURED STATUS OF L_|EN ON REAL PROPERTY was served electronical|y, CERTEF!ED or United
States maii to all interested parties, the Trustee and ali creditors §isted below.

Bank of America -
A__tj__r;; Brian T. Moynihan, President & CEO
100 N. Trycn St.

Char¥otte, NC 28255

Cer'£ified N|ai! #7009 2250 0002 CESYS 3744

Via Regu|ar Nlail To:

South At|ant§c Mortgage Corporaticn
£\,t"t"r;: I\/fari|yn R. Dans, President
3850 Bird Road, #105

Coraf Gab§es, FL 33146

Antigua At Country C¥ub of Miami
Condomlnium Association, lnc.
A__t_tg_:_ Diego Boz'ges, President
17460 NW 67“‘ Court

Miami, FL 33015

BAC Home Loans Servicing, LP
Bankruptcy Divisicn

P.O. ch 5170

Simi Vattey, CA 93062-5170

chen Loan Servicing, LLC
&tjg: Ronaici Faris, President
1661 Worthington Rd`, #100
West Palm Beach, FL 33409"6493

Case 11-35737-RA|\/| Doc 15 Filed 09/21/11 Page 2 of 2

Submitteci by:

fsf Andres Nlonteio
Andres Monte}o 659428

Address: 6157 NW 167 Street Suite 1121
N!iami, FL 33015,

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